Case 1-18-44212-cec Doc 25 Filed 12/26/18 Entered 12/26/18 12:36:47

Hearing Date: January 17, 2019

Athena Victoria Urena-Gonzalez |
141-38 219 Street Time: 2:00 p.m.
Springfield Gardens, NY 11413 a
Pro Se a
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UNITED STATES BANKRUPTCY COURT m oS = me
EASTERN DISTRICT OF NEW YORK = ~ 2250
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Case No. 18-44212ecee SS

ATHENA VICTORIA URENA-GONZALEZ,
Chapter 7

Debtor.
ee ee X

NOTICE OF HEARING ON DEBTOR’S MOTION FOR AN ORDER

RE-OPENING CHAPTER 7 CASE AND ALLOWING AMENDMENTS TO THE
DEBTOR’S SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

PLEASE TAKE NOTICE, that upon the annexed Motion dated December 19 , 2018,
(the “Motion”), of the above-captioned Debtor, the undersigned will move before the Honorable
Carla E. Craig, United States Bankruptcy Judge, in the United States Bankruptcy Court of the
Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, New York 11201, on the
17" day of January, 2019 (the “Hearing Date”), at 9:00 a.m., or as soon thereafter as Debtor
may be heard, for the entry of an order Re-opening Chapter 7 Case and allowing amendments to

the debtor’s schedules and statement of financial affairs. The Debtor may request such other and
further relief as is just and equitable at the hearing.

PLEASE TAKE FURTHER NOTICE, that you need not appear at the aforesaid

hearing if you do not object to the relief requested in the Motion.
PLEASE TAKE FURTHER NOTICE, that any response to the Motion must (a) be in

writing and (b) must be filed with the Clerk of the Bankruptcy Court electronically at
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www.nyeb.uscourts.gov. If you do not have the ability to file an objection electronically, the
objection may be filed with the Clerk of the Court by presenting the Clerk with a copy of the
objection saved on a diskette or compact disk in .pdf format by the date stated above. A copy of
the objection must be provided to (a) the Chambers of the Honorable Carla E. Craig and (b) the
Debtor, so as to be received no later than seven (7) days before the Hearing Date. The objection
must comply with the Bankruptcy Rules and the Local Bankruptcy Rules of the court and must
state with particularity the legal and factual bases for such objection.
Dated: December 19, 2018
Springfield Gardens, New York

/s/Athena Victoria Urena-Gonzalez

Athena Victoria Urena-Gonzalez

141-38 219 Street

Springfield Gardens, NY 11413
Pro Se

 
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Athena Victoria Urena-Gonzalez
141-38 219 Street
_ Springfield Gardens, NY 11413
Pro Se

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In re
ATHENA VICTORIA URENA-GONZALEZ, Case No. 18-44212-cec
Chapter 7
Debtor.
ee xX

DEBTOR’S MOTION FOR AN ORDER RE-OPENING
CHAPTER 7 CASE AND ALLOWING AMENDMENTS TO THE DEBTOR’S
SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

 

Athena Victoria Urena-Gonzalez (the “Debtor’), pro se, hereby moves the Court for the
‘entry of an order (1) reopening her Chapter 7 case pursuant to 11 U.S.C. § 350(b) and allowing
the amendments of her schedules and statement of financial affairs. In support of this motion, the
Debtor respectfully states as follows:
Background

1. The Debtor filed a voluntary Chapter 7 petition on July 23, 2018 (the “Petition
Date”).

2. The Debtor failed to list 3 lawsuits that were pending against her on the Petition
Date in her schedules and statement of financial affairs. 2 of the lawsuits were a result of car

accident which occurred around February 6, 2018. One lawsuit was a dismissed criminal
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proceeding Titled The People of The State of New York v. Athena Urena-Gonzalez Index No.
CR-006144-18QN (the “Dismissed Proceeding”). The second lawsuit was civil action from
Edwardo Perez titled PEREZ, EDWARDO vs. URENA-GONZALEZ, ATHENA ETAL, (the
“Pending Civil Action”). The third lawsuit is a pending criminal proceeding Titled The People of
The State of New York v. Athena Urena-Gonzalez Index No. CR-019476-1 8QN.

3. The Debtor’s estate was fully administered and a discharge was issued on October
30, 2018. The chapter 7 case was closed that same day.

4, After the case was closed, the Debtor learned that she must list all the legal actions
pending against her during the one year period prior to the Petition Date.

5. The Dismissed Proceeding, the pending Criminal Action, and the Pending Civil
Action were not listed in the Debtor’s original schedules and statement of financial affairs.

Relief Requested |

6. The Debtor seeks the entry of an order reopening her Chapter 7 case to permit her
to amend her schedules and statement of financial affairs.

7. Bankruptcy Code Section 350(b) provides that:

A case may be reopened in the court in which such case was closed to
administer assets, to accord relief to the debtor, or for other cause.

8. The Debtor cannot amend her schedules unless the Court re-opens her case and
provides her the relief sought herein. Annexed as Exhibit A are the proposed amended schedules
and statement of financial affairs the Debtor seeks permission to file.

9, No previous motion for the relief requested herein has been made to this or
any other court.

10. No prior application of this nature has been filed by the Debtor.
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WHEREFORE, the Debtor respectfully requests that the Court enter an order
substantially in the form of the proposed order annexed hereto granting the motion and granting
such other and further relief as is just and proper.

Dated: December 19, 2018
Springfield Gardens, New York

/s/Athena Victoria Urena-Gonzalez
' Athena Victoria Urena-Gonzalez

141-38 219 Street

Springfield Gardens, NY 11413

Pro Se
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EXHIBIT A
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Fill in this information to identify your case:

Debtor 1 Athena Victoria Urena-Gonzalez
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: © EASTERN DISTRICT OF NEW YORK

 

Casenumber 18-44212
{if known) ME Check if this is an
, amended filing -

 

 

 

Official Form 106E/F .
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
Wl No. Go to Part 2.

Dyes.
GEESE List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

Ono. You have nothing to report in this part. Submit this form to the court with your other schedules.

Mi ves,

  

 

 

 

 

 

4.1 Acceptance Now - Last 4 digits of account number 0411 Unknown
Nonpnority Creditors Name
Attn: Acceptancenow Customer Opened 04/15 Last Active
Service /B When was the debt incurred? 4/29/15
5501 Headquarters Dr
Plano, TX 75024
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ml bebtor 1 only O Contingent
DO Debtor 2 only oO Unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Cheek if this claim is for a community CD student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|| No D Debts to pension or profit-sharing plans, and other similar debts
Dyes Mi other. Specify Rental Agreement
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 16
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Case 1-18-44212-cec

Debtof1 Athena Victoria Urena-Gonzalez

 

 

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Case number (if known) 18-44212

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Affirm Inc Last 4 digits of account number 5BVO $289.00
Nonpriority Creditor's Name
Affirm Incorporated Opened 04/17 Last Active
Po Box 720 When was the debt incurred? 8/10/17
San Francisco, CA 94104
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. .
a Debtor 1 only Oo Contingent
C1 Debtor 2 only Oo Unliquidated
C1 Debtor 4 and Debtor 2 only O Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Cheek if this claim is for a community D student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hl No D Debts to pension or profit-sharing plans, and other similar debts
D Yes I other. specify Unsecured
American Honda Finance Last 4 digits of account number _§358 $0.00
Nonpririty Creditors Name
Attn: Bankruptcy Opened 11/09 Last Active
Po Box 168088 When was the debt incurred? 5/07/11
Irving, TX 75016
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HH Debtor 1 only oO Contingent
D1 Debtor 2 only Oo Unliquidated
OO Debtor 1 and Debtor 2 only | Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community CO student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo D Debts to pension or profit-sharing plans, and other similar debts
O yes MH other. specify Automobile
Amex Last 4 digits of accountnumber 7923 $0.00
Nonpriority Creditor's Name
Correspondence When was the debt incurred? Opened 5/03/12
Po Box 981540
El Paso, TX 79998
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
I Debtor 1 only oO Contingent
DO Debtor 2 only oO Unliquidated
D Debtor 1 and Debtor 2 only oO Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CD Cheek if this claim is for a community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
DO Yes MI other. Specify Credit Card
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 16

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Debtor 1 Athena Victoria Urena-Gonzalez

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Case number (if known)

 

 

 

18-44212

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.5 | Associated Credit Service Last 4 digits of account number 8018 $311.10
Nonpriority Creditors Name
PO Box 5171 When was the debt incurred?
Westborough, MA 01581-5171 .
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
DO pebtor 2 only oO Unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
DO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is fora community C1) student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No C1 Debts to pension or profit-sharing plans, and other similar debts
O yes WW other. Specify Line of Credit

4.6 B&B Collections, Inc Last 4 digits of accountnumber 0177 $531.00
Nonpriority Creditor's Name
PO Bix 2137 When was the debt incurred?
Toms River, NJ 08754-2137 _
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 1 only O Contingent
DO Debtor 2 only oO Unliquidated
CD Debtor 1 and Debtor 2 only O Disputed
Ci Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is for a community C) student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? Teport as priority claims
Hino D1 Debts to pension or profit-sharing plans, and other similar debts
Dyes WM other. Specify Medical Bill

4,7 B&B Collections, Inc Last 4 digits of account number 3077 $606.00

-  Nonpriority Creditor's Name
PO Bix 2137 When was the debt incurred?
Toms River, NJ 08754-2137
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB pebtor 1 only O Contingent
CO Debtor 2 only oO Unliquidated
O Debtor 1 and Debtor 2 only O Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community 1 student loans .
debt (C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims .
EE No DO Debts to pension or profit-sharing plans, and other similar debts
O yes I other. Specify Medical Bill
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 16
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Debtof 1 Athena Victoria Urena-Gonzalez

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Case number (it known)

 

 

 

18-44212

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 Capital One Last 4 digits of accountnumber 5062 $3,530.00
Nonpriority Creditors Name .
Attn: Bankruptcy Opened 09/15 Last Active
Po Box 30285 When was the debt incurred? 117/17
Salt Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM Debtor 1 only oO Contingent
C1 Debtor 2 only D0 unliquidated
DO Debtor 1 and Debtor 2 only Oo Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community C1) student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims .
a No OD dDetts to pension or profit-sharing plans, and other similar debts
Dyes MM other. Specify Credit Card ,

4.9 Capital One Last 4 digits of accountnumber 74192 $2,761.00
Nonpriority Creditors Name
Attn: Bankruptcy Opened 07/15 Last Active
Po Box 30285 When was the debt incurred? 1/05/18 : :
Salt Lake City, UT 84130 ;
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
W debtor 1 only O Contingent
DO Debtor 2 only O Unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is fora community CI student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as pronity claims
HENno : C1 Debts to pension or profit-sharing plans, and other similar debts
Dyes MM other. Specify Credit Card

44 :

0 Capital One Last 4 digits of account number 3668 $746.00
Nonpnrority Creditors Name
Attn: Bankruptcy Opened 05/17 Last Active
Po Box 30285 When was the debt incurred? 1017/17
Salt Lake City, UT 84130
Number Street City State ZIp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 1 only oO Contingent
DO Debtor 2 only O Unliquidated
C1 Debtor 1 and Debtor 2 only .O Disputed
DC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community C1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|_| No CO Debts to pension or profit-sharing plans, and other similar debts
Dyes WH other. Specify Charge Account

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 16
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Debtor 1 Athena Victoria Urena-Gonzalez Case number (itknown) —_ 18-4422
44 .
1 Capital One Last 4 digits of account number 0655 $0.00
Nonprionty Creditors Name
Attn: Bankruptcy Opened 05/12 Last Active
Po Box 30285 When was the debt incurred? 10/01/14 .
Salt Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 1 only oO Contingent
D1 Debtor 2 only oO Unliquidated
D1 Debtor 4 and Debtor 2 only O Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim is fora community D student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino DO Debts to pension or profit-sharing plans, and other similar debts
O Yes a Other. Specify Credit Card
41 . .
2 Capital One Last 4 digits of account number 6475 $0.00
Nonprionity Creditor’s Name
Attn: Bankruptcy Opened 04/09 Last Active
Po Box 30285 When was the debt incurred? 01/10
Salt Lake City, UT 84130
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB Debtor 1 only O Contingent
D Debtor 2 only oO Unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is fora community D student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino 0 Debts to pension or profit-sharing plans, and other similar debts
DO Yes MM other. Specify Credit Card
4.1 : .
3 Central Credit Services Last 4 digits of account number 4003 $304.97
Nonpnirity Creditors Name :
9550 Regency Square Blvd When was the debt incurred?
Suite 500
Jacksonville, FL 32225.
’ Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
nH Debtor 1 only O Contingent
D Debtor 2 only oO Unliquidated
D Debtor 1 and Debtor 2 only oO Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community D student loans
debt DO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D1 Debts to pension or profit-sharing plans, and other similar debts
DO Yes WH other. Specify Membership
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Debtor1 Athena Victoria Urena-Gonzalez Case number (it known) 18-44212
°4.4 :
4 Chase Auto Finance Last 4 digits of account number 2708 $13,671.00
Nonpnriority Creditors Name
National Bankruptcy Dept Opened 03/16 Last Active
201 N Central Ave Ms Az1-1191 When was the debt incurred? 1111118
Phoenix, AZ 85004
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MB bebtor 1 only 0 Contingent
D1 Debtor 2 only O Unliquidated
O Debtor 1 and Debtor 2 only O Disputed
1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD check if this claim is fora community C1 Student loans
debt CZ Obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? teport as priority claims .
No 1 Debts to pension or profit-sharing plans, and other similar debts
OD Yes Ml other. Specify Automobile
41 :
5 Comenity Bank/mandee Last 4 digits of account number 0133 $0.00
Nonpriority Creditors Name
Attn: Bankruptcy Dept ; Opened 02/16 Last Active
Po Box 182125 When was the debt incurred? 03/18
Columbus, OH 43218
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the.debt? Check one. .
MM Debtor 4 only O Contingent
D1 Debtor 2 only O Unliquidated
DO Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Cheek if this claim is for a ‘community C1) Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
DO Yes MI other. Specify Charge Account
44 z . : . :
6 Credit Collections Services Last 4 digits of account number 2259 $568.00
Nonprionity Creditor's Name :
Attention: Bankruptcy When was the debt incurred? Opened 12/17
725 Canton Street
Norwood, MA 02062
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 4 only D1 Contingent
OD Debtor 2 only D unliquidated
DO Debtor 4 and Debtor 2 only oO Disputed
1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD cheek if this claim is fora community C) student loans .
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino OD petts to pension or profit-sharing plans, and other similar debts
0 Yes WH other. Specify Collection Attorney Nationwide Insurance
her. Specify
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Debtor1 Athena Victoria Urena-Gonzalez Case number (if known) 18-44212
44 :
7 Credit One Bank Last 4 digits of account number 7528 $2,057.00
Nonpriority Creditors Name
Attn: Bankruptcy Opened 03/15 Last Active
Po Box 98873 When was the debt incurred? 9/12/17
Las Vegas, NV 89193
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. :
- Mi debtor 1 only oO Contingent
CD Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only oO Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CD Check if this claim is for a community C1 student loans .
debt oO Obligations ansing out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
| | No O petts to pension or profit-sharing plans, and other similar debts
0 yes WM other. Specify Credit Card
44 . :
8 Credit One Bank Last 4 digits of account number 0135 $1,320.00
Nonpriority Creditors Name
& .
Attn: Bankruptcy Opened 08/17 Last Active
Po Box 98873 When was the debt incurred? 9/01/17
Las Vegas, NV 89193
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM pebtor 1 ‘only O contingent
CD Debtor 2 only oO Unliquidated
CZ Debtor 1 and Debtor 2 only oO Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Cheek if this claim is for a community C1 student loans :
debt oO Obligations arising out of a separation agreement or divorce that you did not
- Is the claim subject to offset? - report as priority claims
Mino DO Debts to pension or profit-sharing plans, and other similar debts
0 Yes Wl other. Specify Credit Card
44
9 Edwardo Perez Last 4 digits of account number 2018 Unknown
Nonpnriority Creditor's Name
Michael H. Joseph, PLLC When was the debt incurred? -
203 East Post Road
White Plains, NY 10601
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Hl Debtor 1 only oO Contingent
CO Debtor 2 only oO Unliquidated
CZ Debtor 4 and Debtor 2 only oO Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims ;
Hino OO) Debts to pension or profit-sharing plans, and other similar debts
O Yes Wl other. Specify Pending Civil Action
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 16
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Debtor 1 Athena Victoria Urena-Gonzalez Case number (if known) 18-44212

4.2 .

0 Fingerhut Last 4 digits of account number 0124 $0.00
Nonpriority Creditor's Name
Bankruptcy Dept Opened 7/07/15 Last Active
6250 Ridgewood Rd When was the debt incurred? 10/17
Saint Cloud, MN 56303
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 4 only Oo Contingent
CO Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only 1 disputed
D At least one of the debtors and another Type of NONPRIORITY unsecured claim: 5
DO Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Hl No 2 Debts to pension or profit-sharing plans, and other similar debts
OyYes Mother. specify Charge Account

4.2 : . .

1 First Savings Credit Card Last 4 digits of account number 4136 $1,707.14
Nonpriority Creditor's Name
PO Box 5019 When was the debt incurred?
Sioux Falls, SD 57117-5019 .
Number Street City State Zlp Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only Oo Contingent
O pebtor 2 only Oo Unliquidated
CO Debtor 1 and Debtor 2 only | Disputed
1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C1 student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? freport as priority claims
Hino D1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes I other. Specify Credit Card

[4.2 . .

2 Genesis Beiceltic Bank Last 4 digits of account number 1886 - $0.00

Nonpriority Creditors Name
- Opened 03/17 Last Active
268 S State St Ste 300 When was the debt incurred? 4108/18
Salt Lake City, UT 84111
Number Street City State ZIp Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& Debtor 1 only oO Contingent
C1 Debtor 2 only O Unliquidatea
CO Debtor 4 and Debtor 2 only oO Disputed
7. At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D Check if this claim is fora community Oo Student loans
debt : D obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes WW other. specify Credit Card
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 16
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Debtor 1 Athena Victoria Urena-Gonzalez Case number (if known) 18-44212
4.2 :
3 Kew Gardens Hills, LLC Last 4 digits of account number $22,000.00
Nonpnority Creditor's Name
1065 Ave. of The Americas When was the debt incurred?
31st Floor
New York, NY 10018
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. '
E Debtor 1 only . oO Contingent
DO Debtor 2 only 1 unliquidated
C Debtor 4 and Debtor 2 only O Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO cheek if this claim is fora community D1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims /
|| No C1 Debts to pension or profit-sharing plans, and other similar debts
0 yes HW other. Specify Rental Arrears
4.2 .
4 Lendup Card Services | Last 4 digits of account number 8576 $551.00
Nonpriority Creditors Name
Attn: Bankruptcy, LendUp Opened 06/17 Last Active
237 Kearny St #197 When was the debt incurred? - 4/06/18
San Francisco, CA 94108
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
O Debtor 2 only O Unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Cheek if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Eno C1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes MM other. Specify Credit Card
4.2 : . , .
5 Miller & Milone, P.C. Last 4 digits of accountnumber 0520 $9,272.55
Nonpriority Creditor's Name :
100 Quentin Roosevelt Biv When was the debt incurred?
Suite 205
Garden City, NY 11530
Number Street City State Zp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HB bebtor 1 only CO contingent
DO Debtor 2 only O Unliquidated
CZ Debtor 1 and Debtor 2 only O Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans .
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
| | No D1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes Ml other. Specify Medical Bill
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 16
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18-44212

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor’! Athena Victoria Urena-Gonzalez Case number (i known)
42 oo, .
6 Nationwide Insurance Last 4 digits of account number 8886 $568.62
Nonpriority Creditor's Name
PO Box 742522 When was the debt incurred?
Cincinnati, OH 45274-2522
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oo Contingent
t
O Debtor 2 only Oo Unliquidated
CO Debtor 4 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community 11 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
0 yes WH other. Specify Auto Insurance
4.2 . og:
7 Nationwide Insurance Last 4 digits of account number 8082 $53.08
Nonpriority Creditor's Name
PO Box 742522 When was the debt incurred?
Cincinnati, OH 45274-2522 ;
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. :
a Debtor 1 only O Contingent
D1 Debtor 2 only oO Unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is for a community D1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino OD Debts to pension or profit-sharing plans, and other similar debts
O Yes MM other. Specify Insurance
4.2 .
8 NYC Dept. of Finance Last 4 digits of account number 8095 $392.83
Nonpniority Creditors Name :
Church Street Station When was the debt incurred?
P.O.Box 3600
New York, NY 10008
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. ,
WM Debtor 4 only Oo Contingent
D1 Debtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
DZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is fora community D1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? Teport as priority claims
HNo OD Debts to pension or profit-sharing plans, and other similar debts
0 Yes Wl other. Specify Parking Tickets
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Debto?1 Athena Victoria Urena-Gonzalez Case number (if known) 18-44212
4.2 . .
9 NYS Dept. of Taxation/Fin Last 4 digits of account number $2,062.66
Nonpriority Creditor's Name
Civil Enforcement CO-ATC When was the debt incurred?
WA Harriman Campus
Albany, NY 12227
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
OD Debtor 2 only Oo Untiquidated
D1 Debtor 1 and Debtor 2 only Oo Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim: :
O check Jf this claim is for a community O Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino DO Debts to pension or profit-sharing plans, and other similar debts
0 Yes MW other. Specify
4.3 .
0 PayPal Credit Last 4 digits of account number 5513 $850.00
Nonpriority Creditors Name
PO Box 105658 When was the debt incurred?
Atlanta, GA 30348
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only oO Contingent
D1 Debtor 2 only O Unliquidated
DO Debtor 1 and Debtor 2 only Oo Disputed
0 At least one of the debtors and another Type of NONPRIORITY unsecured claim: —
O check if this claim is for a. community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as prionty claims
Mino DO Debts to pension or profit-sharing plans, and other similar debts
D ves WH other. Specify Credit Card
43 . . ;
yi Profesional Claims Bure Last 4 digits of account number 1814 $522.00

 

 

Nonpriority Creditors Name
PO Box 9060
Hicksville, NY 11802-9060

 

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

DO Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

D1 Check if this claim is for a. community
debt

Is the claim subject to offset?

a No
DO Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

oO Contingent
oO Unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

OC student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OD Debts to pension or profit-sharing plans, and other similar debts

|_| Other. Specify Medical Bill

 

 

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Athena Victoria Urena-Gonzalez Case number (it known) 18-44212
4.3 . .
2 Profesional Claims Bure Last 4 digits of account number 1808 $66.98
Nonpriority Creditors Name
PO Box 9060 When was the debt incurred?
Hicksville, NY 11802-3060
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
WB Debtor 1 only O Contingent
OD pebtor 2 only oO Unliquidated
DO pDebtor 1 and Debtor 2 only oO Disputed
DC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD check if this claim is fora community D student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
Dyes Wl other. Specify Medical Debt
4.3 .
3 Proffesional Account Mana Last 4 digits of account number 0140 $114.15 .
Nonpriority Creditor's Name
P.O.Box 1520. When was the debt incurred?
Milwaukee, Wi 53201-1520
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oo Contingent
CO Debtor 2 only DO unliquidated
DO Debtor 1 and Debtor 2 only O Disputed
DZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Cheek if this claim is fora community C1 student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No CZ Debts to pension or profit-sharing plans, and other similar debts
Dyes a Other. Specify Toll Violation
4.3
4 Queens EMA Last 4 digits of account number 8177 $398.00
Nonpriority Creditors Name
PO Box 5603 When was the debt incurred?
Parsippany, NJ 07054-6603
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only D1 Contingent
ebtor 2 only nliquidate
CO Debtor 2 onl D1 unliquidated
C1 Debtor 1 and Debtor 2 only oO Disputed
DC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim is for a community C1 student loans .
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No 1 Debts to pension or profit-sharing plans, and other similar debts
O yes I other. Specify Medical Debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 16
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Debtor 1 Athena Victoria Urena-Gonzalez Case number (it known) 18-44212
43
5 Santander Consumer USA Last 4 digits of account number 1000 $0.00
Nonpriority Creditors Name
Opened 02/15 Last Active
Po Box 961245 When was the debt incurred? 4122/16
Ft Worth, TX 76161
Number Street City State ZIp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
"M bebtor 1 only O Contingent
D1 Debtor 2 only | Unliquidated
CO Debtor 1 and Debtor 2 only | Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a. community C1 student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CZ Debts to pension or profit-sharing plans, and other similar debts
0 Yes WH other. Specity Automobile
4.3
6 Synchrony Bank/Amazon Last 4 digits of accountnumber 2700 $1,220.00
Nonpriority Creditors Name
Attn: Bankruptcy Dept . Opened 03/16 Last Active
Po Box 965060 When was the debt incurred? 7131117
Orlando, FL 32896 \
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
H bebtor only Oo Contingent
D Debtor 2 only D2 unliquidated
DF Debtor 1 and Debtor 2 only Oo Disputed
DC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student loans
~ debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo CZ Debts to pension or profit-sharing plans, and other similar debts
O Yes I other. Specify Charge Account
43 . . ;
7 Synchrony Bank/Care Credit Last 4 digits of account number 2818 $0.00
Nonpriority Creditors Name
Attn: Bankruptcy Dept Opened 9/14/11 Last Active
Po Box 965061 When was the debt incurred? 10/01/13
Orlando, FL 32896 :
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. .
Debtor 1 only Oo Contingent
CO Debtor 2 only D0 unliquidated ,
CO Debtor 1 and Debtor 2 only Oo Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO cheek if this claim is fora community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
O Yes I other, Specify Charge Account
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, Debto? 1 Athena Victoria Urena-Gonzalez Case number (if known) 18-44212
4.3
8 Synchrony Bank/Gap Last 4 digits of account number 3286 $58.00
Nonpriority Creditor's Name
Attn: Bankruptcy Dept Opened 03/16 Last Active
Po Box 965060 When was the debt incurred? 3/19/18
Orlando, FL 32896
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one. °
a Debtor 1 only O Contingent
O Debtor 2 only “O Unliquidated
CO Debtor 1 and Debtor 2 only 1 Disputed
C1 Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
CZ Cheek if this claim is for a. community C1 student loans
debt - O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims .
Hino DZ Debts to pension or profit-sharing plans, and other similar debts
D Yes Ml other. Specify Charge Account
4.3 . . .
9 Synergetic Communication Last 4 digits of account number 6528 ‘ $1 ,304,97
Nonpriority Creditor's Name
5450 N.W. Central #220 When was the debt incurred?
Houston, TX 77092-2016
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi debtor 1 only D1 contingent
DO Debtor 2 only oO Unliquidated
DO Debtor 1 and Debtor 2 only Oo Disputed
DZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Cheek if this claim is for a community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims :
BE No D1 Debts to pension or profit-sharing plans, and other similar debts
O Yes Ml other, Specify Closed Checking Account
44
0 Verve Last 4 digits of account number $753.77
Nonpriority Creditors Name
PO Box 3220 When was the debt incurred?

Buffalo, NY 14240

 

Number Street City State ZIlp Code
Who incurred the debt? Check one.

ME bebtor 1 only

D1 Debtor 2 only

D1 Debtor 4 and Debtor 2 only

DC Atleast one of the debtors and another

CO Cheek if this claim is fora community
debt

Is the claim subject to offset?

a No
O yes

 

As of the date you file, the claim is: Check all that apply

O Contingent
D1 unliquidated

| Disputed
Type of NONPRIORITY unsecured claim:
C1 student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO detts to pension or profit-sharing plans, and other similar debts

WW other. Specify Credit Card

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 4 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

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Debto? 1 Athena Victoria Urena-Gonzalez

.Name and Address

Alltran Financial, LP
P.O. Box 610

Sauk Rapids, MN 56379

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Case number (if known) 18-44212

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.17 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims

 

WE part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Credit Collection Service
725 Canton Street
Norwood, MA 02062

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.26 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Wl part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 5516

 

Name and Address

Credit Collection Service
725 Canton Street
Norwood, MA 02062

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.27 of (Check one): CO Part 4:Creditors with Priority Unsecured Claims
MB part 2: Creditors with Nonpriority Unsecured Claims
‘Last 4 digits of account number ~ 1855

 

Name and Address

Genpact Services, LLC
PO Box 1969

Southgate, MI 48195-0969

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.36 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Wl Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 0900

 

Name and Address

LTD Financial Services LP
7322 Southwest Freeway
Ste. 1600

Houston, TX 77074-2053

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.211 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

WB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 0869

 

Name and Address

MONTFORT HEALY MCGUIRE
SALLY

840 FRANKLIN AVENUE
0710514/2018

Garden City, NY 11530

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.19 of (Check one): CO Part 4: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

NewYork Pres. Med. Group
Attn: 19096W

PO Box 14000

Belfast, ME 04915-4033

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.31 of (Check one): CO part 1: Creditors with Priority Unsecured Claims

WB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 1917

 

Name arid Address

NY Prebyterian Queens
56-45 Main Street
Flushing, NY 11355

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.25 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
MB part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 0685

 

Name and Address

Picciano & SCahull, P.C.
1065 Stewart Ave

Suite 210

Bethpage, NY 11714

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.19 of (Check one): CO Part 4: Creditors with Priority Unsecured Claims
I Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 2018

 

Name and Address
Queens EMA

PO Box 417423
Boston, MA 02241

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.34 of (Check one): 0 Part 4: Creditors with Priority Unsecured Claims

IM Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Queens EMA
PO Box 5603

Official Form 106 E/F

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.6 of (Check one): DO part 1: Creditors with Priority Unsecured Claims

WM part 2: Creditors with Nonpriority Unsecured Claims

Schedule E/F: Creditors Who Have Unsecured Claims

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Debter1 Athena Victoria Urena-Gonzalez

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. Parsippany, NJ 07054-6603

 

Last 4 digits of account number

 

Name and Address
Queens EMA

PO Box 417423
Boston, MA 02241

On which entry in Part 1 or Part 2 did you list-the original creditor?
Line 4.6 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

| Part 2: Creditors with Nonprority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Queens EMA

PO Box 5603

Parsippany, NJ 07054-6603

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.7 of (Check one): CO Part 4: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonprority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Queens EMA

PO Box 417423
Boston, MA 02241

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.7 of (Check one): C1 Part 4: Creditors with Priority Unsecured Claims

Ml Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Town Sports International
399 Executive blvd

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.13 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

W part 2: Creditors with Nonpriority Unsecured Ciaims

Elmsford, NY 10523

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

   

 

 

 

 

   

 

 

 

 

 

Taal nim,
6a. . Domestic support obligations 6a. 0.00
6b. Taxes and certain other debts you owe the government "6b. $ 0.00
6c, Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d, Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. 3 0.00
6f. Student loans 6f. 0.00
6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 89. $ abel

6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. . I iori d claims. Wri i.

i, Other. Add all other nonpriority unsecured claims. Write that amount 6i. $ 68,590.82
6j. Total Nonpriority. Add lines 6f through 6i. Gj. $ 68,590.82

“
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 16 of 16

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Fill in this information to identify your case:

Debtor 1 Athena Victoria Urena-Gonzalez
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: © EASTERN DISTRICT OF NEW YORK

 

Case number 1418-44212 :
(if known) ME Check if this is an
. ‘ amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy ANG

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer.every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

O Married
Not married

2. . During the last 3 years, have you lived anywhere other than where you live now?

O No
Ml Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

         

Dates‘T abt “Dates Debtc
re ¢ “lived there :
141-38 219th Street - From-To: CO same as Debtor 1 O same as Debtor 4
Springfield Gardens, NY 11413 2012 - 2016 From-Ta:

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

W No
Cl Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ea Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
M@ Yes. Fill in the details.

 

From January 1 of current year until [] Wages, commissions, $14,447.00 1 Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
m Operating a business . LO Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor 1 Athena Victoria Urena-Gonzalez Case number (itknown) _18-44212
;Check ‘ail that apply.
ioe ‘Secusions)
For last calendar year: Ml Waaes. commissions | $57,520.00 [1 Wages, commissions,
(January 1 to December 31, 2017 ) bonuses, tips ‘ bonuses, tips
IH Operating a business OC Operating a business
For the calendar year before that: I wages, commissions, $50,944.00 [1 Wages, commissions,

(January 1 to December 31, 2016 )

bonuses, tips bonuses, tips

I Operating a business OC Operating a business

 

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.
List each source and the gross income from each source separately. Do not include income that you listed in line 4.
O No
Ml Yes. Fill in the details.
Gross income from ‘Sources of income. Gross income.
é (before ‘deducti
“(bef eC deductions
. “ exclusions) °~
From January 1 of current year until Child Support $2,800.00

the date you filed for bankruptcy:

 

For last calendar year: Child Support $4,800.00
(January 1 to December 31, 2017 ) :

 

For the calendar year before that: Child Support $4,800.00
(January 1 to December 31, 2016 )

 

GGEtceal List Certain Payments You Made Before You Filed for Bankruptcy

6.

Official Form 107

Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

O No.

HM yes.

Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
O No. Goto line 7.

D yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

HiNo. Gotoline7?.

CO Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attomey for this bankruptcy case.

Statement of Financial Affairs for Individuals Filing for Bankruptcy . page 2

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Debtof1 Athena Victoria Urena-Gonzalez Case number (irknown) 1418-44242

 

 
 

tal amount:
bai paid :

  

(mount you Was this p.
“still owe | 3 :

  

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and.
alimony.

HM No
0 Yes. List all payments te to an n insider.
‘Insider's b m :

 
 
 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider? : .

Include payments on debts guaranteed or cosigned by an insider.

M@ No

O Yes. List all payments to an insider

 

 

nsider's Name and Address _

 
 

“totale amount:

‘|Dates‘of payment...
“ : ‘paid:

“Reason for this payment.
«Include: créditor's name -

         

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.
O No
7 Yes. Fill in the details.

 

The People of The State of New DWI Criminal Criminal Court of The City O Pending

 

 

York v. Athena V. Urena-Gonzalez Case . of New York O On appeal
CR-006144-18QN County of Queens H Concluded
Edwardo Perez v. Athena Civil Action The Supreme Court of the | Pending
Urena-Gonzalezz, Benjamin Garcia Proceeding State of New Yo C1 on appeal
Sanches and Melofy Cafe and County of Queens OO Concluded
Restaurant Inc. , :
0710514/2018

The People of The State of New Criminal Action Criminal Court of The City MI Pending
York v. Athena V. Urena-Gonzalez of New York C1 On appeal
CR-09476-18QN County of Queens O Concluded

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

1 No. Goto line 11.
HI Yes. Fill in the information below.

 

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Debtot1 Athena Victoria Urena-Gonzalez ‘ Case number (itknown) 18-44212

 

 

   
 

"Gregitor Name arid Address °°

   
 

“Describe the Property

ma as : Exp ain what happenet a vee eB :
Chase Bank USA, NA 2014 Mazda CX-5 11/2017 $14,000.00

PO Box 15298
Wilmington, DE 19850 ll Property was repossessed.

C1 Property was foreclosed.
C1 Property was garnished.

0 Property was attached, seized or levied.

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

H No
oO Yes. Fil | in the details.

 

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

M No
O Yes

Geta List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more-than $600 per person?
M No
O Yes. Fill i in v the details for each gift,

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
HM No

O Yes. Fill in n the details for each gift or contribution.
°Gifts or.con! ons to charities that ‘total - “Describe what you contributed «*

 
       

 

 

 

t, City, State and ZIP Code)

PETE List ce Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

 

He No
oO Yes. Fill in the details.

‘insurance claims on line 33 of Schedule AB: Property.

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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Debtor 1 Athena Victoria Urena-Gonzalez Case number (ifknown) 18-44212

 

 

>

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
7 Yes. Fil in the details.

‘Description'a
; “transferred *

 
      

001 Debtorcc Inc. $14.95
378 Summit Ave . :
Jersey City, NJ 07306

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

HM No
O Yes. Fill in the details.

 
   
 

:Date Payment
-Or. transfer was
smade nay

 

transferred «
Sie Bas vas,

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M@ No
Oo Yes. Fill it in the details.

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

M@ No
O Yes. Fill in the details.

 

GEXEHEE List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any fi nancial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No
C1 Yes. Fill in the details.

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy : : : page 5
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Debtof1 Athena Victoria Urena-Gonzalez Case number (itknown) 1844212

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

MH No
oO ‘Yes. Fill in the details,

 

“State and ZIP. Code) “":

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

H No
O Yes. Fill in the details.
Name of Storage F Facili

  

(Nui
State and ZIP Code)

GEE Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

BH No
O Yes. Fil in the details.

:Where is the property? Le
{lumber
Codey’:

     

Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, Surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term. .

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HM No
q Yes. Fill in the details.

    
 

“Environmental lav

 

"ZIP Code) 32° 522

25. Have you notified any governmental unit of any release of hazardous material?
H No
O Yes, Fill in the details.

 

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‘Debtof 1 Athena Victoria Urena-Gonzalez Case number (ifknown) 1418-44212

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HM No
Oo Yes. Fill in the details.

“Status of th

State 'and ZIP Code)

 

Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did y you own a business or have any of the following connections to any business?
Hi Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
Hi A member of a limited liability company (LLC) or limited liability partnership (LLP)
0A partner in a partnership
CO An officer, director, or managing executive of a corporation
CJ An owner of at least 5% of the voting or equity securities of a corporation
Oo . No. None of the above applies. Go to Part 12. |

M™@ Yes. Check all that at apply above and fi ‘lt in the details below for each business.

        
 

  

‘Employer identifi cation number...
‘De not include Social Security | number o1 TH

 

‘Business Nan me |

 

 

. eS Pn eal jusiness existed | .
_ Athena Victoria Events, LLC Event Planning EIN: XX-XXXXXXX
147-47 72nd Rd Apt 2D
Flushing, NY 11367 From-To 02/14/2017 to Present
Athena V. Urena-Gonzalez Sole Propriety created to pay for EIN: XX-XXXXXXX
147-47 72nd Rd apt 2D child care.
Flushing, NY 11367 From-To

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

H No
C1 Yes. Fill in the details below.

‘State and ZIP Code) “

LENE Sign Below

 

 

I have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

is! Athena Victoria Urena-Gonzalez

 

 

Athena Victoria Urena-Gonzalez Signature of Debtor 2
Signature of Debtor 1
Date December 19, 2018 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

Bi No
0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

Official Form 107 __ Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Debtor 1 Athena Victoria Urena-Gonzalez Case number (itknown) 18-44212

3
HNo
CO Yes. Name of Person

Official Form 107

. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

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PROPOSED ORDER
Case 1-18-44212-cec Doc 25 Filed 12/26/18 Entered 12/26/18 12:36:47

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

ed x

In re Chapter 7

ATHENA VICTORIA URENA-GONZALEZ, Case No. 18-44212-cec
Debtor

ee x

ORDER GRANTING DEBTOR’S MOTION TO REOPEN
_CHAPTER 7 CASE AND ALLOWING AMENDMENTS TO THE DEBTOR’S
SCHEDULES AND STATEMENT OF FINAN CIAL AFFAIRS

Upon the Motion (the “Motion”) of Athena Victoria Urena-Gonzalez (the “Debtor”), for
the entry of an order to reopen the above referenced case pursuant to 11 U.S.C. § 350(b), and
authorization to amend schedules and statement of financial affairs; adequate notice of the Motion
having been given, and sufficient cause for the relief requested having been demonstrated, it is
hereby

ORDERED, the above-entitled bankruptcy case be, and the same is hereby, reopened
pursuant to 11 U.S.C. § 350(b); and it is further

ORDERED, a trustee shall not be appointed in this case absent further order from the
Court; and it is further

ORDERED, that the Debtor may amend her schedules and statement of financial affairs
and serve notice of the amendments to all parties in interest; and it is further

ORDERED, that the Debtor file proof of service of the amendments; and its further

ORDERED, that this case may be closed after the Debtor files proof of service as required ©

by this order.

Dated: Brooklyn, New York
January _, 2019

 

HON. CARLA E. CRAIG
U.S. BANKRUPTCY JUDGE
Case 1-18-44212-cec Doc 25 Filed 12/26/18 Entered 12/26/18 12:36:47

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ee x
In re
ATHENA VICTORIA URENA-GONZALEZ, Case No. 18-44212-cec
Chapter 7
Debtor.
een ee eee pee ee ee ee ee ee ee eX
DECLARATION OF SERVICE ae
De BM
I, Athena Gonzalez, being duly sworn state as follows: Ce & n>
Mm © MES,
1. Iam over 18 years of age and not a party to this case. mn o oem
Sag
2. On December 19, 2018, I served a copy of the following document(s) to they > “Sx
individuals and entities list on the annexed service list by either first class mail or elect¥énic=- 2 2
w a
— a

mail:

DEBTOR’S MOTION FOR AN ORDER RE-OPENING
CHAPTER 7 CASE AND ALLOWING AMENDMENTS TO THE DEBTOR’S
SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,

I am subject to punishment.

Dated: December 19, 2018

Astoria, New York
/s/Athena Gonzalez Chron Hy

Athena Gonzalez
Case 1-18-44212-cec

o

ATHENA V. URENA-GONZALEZ.
Service List

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Acceptance Now MAIL Affirm Inc
Attn: Acceptancenow Customer Service / B Affirm Incorporated
5501 Headquarters Dr Po Box 720
Plano, TX 75024 San Francisco, CA 94104
Alltran Financial, LP MAIL American Honda Finance MAIL
P.O. Box 610 Attn: Bankruptcy
Sauk Rapids, MN 56379 Po Box 168088

Irving, TX 75016
Amex MAIL Associated Credit Service MAIL
Correspondence PO Box 5171
Po Box 981540 Westborough, MA 01581-5171
El Paso, TX 79998
B&B Collections, Inc MAIL Capital One MAIL
PO Bix 2137 Attn: Bankruptcy
Toms River, NJ 08754-2137 Po Box 30285

Salt Lake City, UT 84130
Central Credit Services MAIL Chase Auto Finance MAIL
9550 Regency Square Blvd National Bankruptcy Dept
Suite 500 201 N Central Ave Ms Az1-1191
Jacksonville, FL 32225 Phoenix, AZ 85004
Comenity Bank/mandee MAIL Credit Collection Service MAIL
Attn: Bankruptcy Dept 725 Canton Street
Po Box 182125 Norwood, MA 02062
Columbus, OH 43218
Credit Collections Services MAIL Credit One Bank MAIL
Attention: Bankruptcy Attn: Bankruptcy
725 Canton Street Po Box 98873
Norwood, MA 02062 Las Vegas, NV 89193
Edwardo Perez MAIL Fingerhut MAIL
Michael H. Joseph, PLLC Bankruptcy Dept
203 East Post Road 6250 Ridgewood Rd

White Plains, NY 10601

 

 

Saint Cloud, MN 56303

 

 

 
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First Savings Credit Card Genesis Be/celtic Bank
PO Box 5019 268 S State St Ste 300
Sioux Falls, SD 57117-5019 Salt Lake City, UT 84111
Genpact Services, LLC MAIL Kew Gardens Hill, LLC MAIL
PO Box 1969 1065 Ave of the Americas
Southgate, MI 48195-0969 31st Floor
New York, NY 10018
Lendup Card Services I MAIL LTD Financial Services LP MAIL
Attn: Bankruptcy, LendUp 7322 Southwest Freeway
237 Kearny St #197 Ste. 1600
San Francisco, CA 94108 Houston, TX 77074-2053
Miller & Milone, P.C. MAIL MONTFORT HEALY MCGUIRE MAIL
100 Quentin Roosevelt Blv SALLY
Suite 205 840 FRANKLIN AVENUE
Garden City, NY 11530 0710514/2018
Garden City, NY 11530
Nationwide Insurance MAIL NewYork Pres. Med. Group MAIL
PO Box 742522 Attn: 19096W
Cincinnati, OH 45274-2522 PO Box 14000
Belfast, ME 04915-4033
NY Prebyterian Queens MAIL NYC Dept. of Finance MAIL
56-45 Main Street Church Street Station
Flushing, NY 11355 P.O.Box 3600
New York, NY 10008
NYS Dept. of Taxation/Fin MAIL PayPal Credit MAIL
Civil Enforcement CO-ATC PO Box 105658
WA Harriman Campus Atlanta, GA 30348
Albany, NY 12227
Profesional Claims Bure MAIL Proffesional Account Mana MAIL
PO Box 9060 P.O.Box 1520
Hicksville, NY 11802-9060 Milwaukee, WI 53201-1520
Queens EMA MAIL Santander Consumer USA MAIL
PO Box 5603 Po Box 961245
Parsippany, NJ 07054-6603 Ft Worth, TX 76161

 

 

 
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Synchrony Bank/Amazon

MAIL

 

 

 

MAIL Synchrony Bank
Attn: Bankruptcy Dept Attn: Bankruptcy Dept
Po Box 965060 Po Box 965061
Orlando, FL 32896 Orlando, FL 32896
Synergetic Communication MAIL Town Sports International MAIL
5450 N.W. Central #220 399 Executive blvd
Houston, TX 77092-2016 Elmsford, NY 10523
Verve MAIL Picciano & Scahull, P.C. MAIL
PO Box 3220 1065 Stewart Ave

Buffalo, NY 14240

 

 

Suite 210
Bethpage, NY 11714

 

 

 

 
